996 F.2d 1211
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward Lonnie MCCARROLL, Petitioner-Appellant,v.STATE OF NORTH CAROLINA, Respondent-Appellee.
    No. 93-6352.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 7, 1993.Decided:  June 25, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-93-89-CRT-BR)
      Edward Lonnie McCarroll, Appellant Pro Se.
      E.D.N.C.
      DISMISSED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Edward Lonnie McCarroll seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  McCarroll v. State of North Carolina, No. CA-9389-CRT-BR (E.D.N.C. Mar. 22, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    